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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

KEN PAXTON, in his official capacity as              )
Attorney General of Texas, et al.                    )
      Plaintiffs,                                    )       Civil Action No. 4:22-cv-00143-P
                                                     )
vs.                                                  )
                                                     )
STEVEN M. DETTELBACH, in his official                )
Capacity as Acting Director, Bureau of               )
Alcohol, Tobacco, Firearms and                       )
Explosives, et al.                                   )
      Defendants.                                    )


                                            ANSWER

       Defendants Steven M. Dettelbach, in his official capacity as Acting Director, Bureau of

Alcohol Tobacco, Firearms and Explosives (“ATF”), and Merrick B. Garland, in his official

capacity as Attorney General of the United States (collectively, the “Defendants”), by and through

their undersigned counsel, hereby answer Plaintiffs’ Second Amended Complaint.

                                       FIRST DEFENSE

       Plaintiffs’ claims are barred by the Anti-Injunction Act, 26 U.S.C. § 7421.

                                      SECOND DEFENSE

       Plaintiff Paxton lacks Article III standing because the State of Texas has not alleged any

direct and concrete injury, nor is the State in any immediate danger of such injury.

                                       THIRD DEFENSE

       Plaintiffs Schnitz, Martin, and Allen (the “Individual Plaintiffs”) lack standing to challenge

the NFA’s application requirements as applied to them, to the extent those claims are premised on

allegations that some Form 1 applications have been denied, or on the basis that ATF has sought

additional information from some Form 1 applicants under certain circumstances. The Individual



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Plaintiffs have not alleged that they applied to pay the $200 tax and make a firearm suppressor, or

that they have filed a Form 1 application that has resulted in a request for additional information

or that has been denied.

                                         FOURTH DEFENSE

       Plaintiffs have failed to state a claim for relief based on the Second Amendment.

Defendants’ actions do not violate and have not violated the Second Amendment, or any other

constitutional or statutory provision.

                                           *      *       *

       Defendants respond to the numbered paragraphs of Plaintiffs’ Second Amended Complaint

as follows:

                                         INTRODUCTION

       1.      With respect to the first and second sentences in this paragraph, Defendants admit

that the National Firearms Act (the “NFA”) was enacted into law in 1934 and amended in 1968.

The remainder of this paragraph is a characterization of the NFA, as amended, which statute speaks

for itself and is the best evidence of its content. Accordingly, no response is required. To the extent

a response is deemed required, Defendants deny any allegation that is inconsistent with the NFA.

       2.      The allegations in this paragraph consist of legal conclusions to which no response

is required. Moreover, the allegations in this paragraph are characterizations of case law,

specifically District of Columbia v. Heller, 554 U.S. 570 (2008), and New York Rifle & Piston

Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022), which cases speak for themselves and are the best

evidence of their content. To the extent a response is deemed required, Defendants deny any

allegation that is inconsistent with Heller and Bruen, or with or other law governing this matter.

       3.      The allegations in this paragraph consist of legal conclusions to which no response




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is required. Moreover, the allegations in this paragraph are characterizations of case law,

specifically Bruen, 142 S. Ct. at 2131, which case speaks for itself and is the best evidence of its

content. To the extent a response is deemed required, Defendants deny any allegation that is

inconsistent with Bruen or with or other law governing this matter.

       4.      The allegations in this paragraph consist of legal conclusions to which no response

is required. Moreover, to the extent the allegations in this paragraph are characterizations of case

law, specifically Bruen, 142 S. Ct. at 2111, that case speaks for itself and is the best evidence of

its content. To the extent a response is deemed required, Defendants deny any allegation that is

inconsistent with Bruen or with or other law governing this matter.

       5.      The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, this paragraph is denied.

       6.      The first three sentences of this paragraph consist of legal conclusions to which no

response is required. Moreover, to the extent the first three sentence of this paragraph characterize

case law, specifically Bruen, 142 S. Ct. at 2116, 2127, that case speaks for itself and is the best

evidence of its content. To the extent a response is deemed required with respect to the first three

sentences of this paragraph, Defendants deny any allegation that is inconsistent with Bruen or with

other law governing this matter. The fourth and fifth sentences of this paragraph are denied.

Moreover, the term “often” in the fifth sentence is vague and undefined, and thus Defendant is

unable to respond regarding that descriptor.

       7.      The allegations in this paragraph consist of legal conclusions to which no response

is required. Moreover, the allegations in this paragraph characterize case law, specifically District

of Columbia v. Heller, 554 U.S. at 636, which case speaks for itself and is the best evidence of its

content. To the extent a response is deemed required, Defendants deny the allegations in this




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paragraph to the extent it quotes language from Heller out of context, and to the extent it is

consistent with Heller or with other law governing this matter.

       8.      The allegations in the first and second sentences of this paragraph consist of legal

conclusions to which no response is required. Moreover, to the extent the allegations in those

sentences characterize case law, specifically Murdock v. Com. of Pennsylvania, 319 U.S. 105, 113

(1943), Heller, 554 U.S. at 570, and Bruen, 142 S. Ct. at 2111, those cases speak for themselves

and are the best evidence of their content. To the extent a response is deemed required, Defendants

deny any allegation that is inconsistent with Murdock, Bruen, Heller, or with other law governing

this matter. The third sentence of this paragraph is denied.

       9.      The allegations in this paragraph consist of legal conclusions to which no response

is required. Moreover, to the extent the allegations in this paragraph characterize case law,

specifically Bruen, 142 S. Ct. at 2111, that case speaks for itself and is the best evidence of its

content. To the extent a response is deemed required, Defendants deny any allegation that is

inconsistent with Bruen or other law governing this matter.

       10.     The allegations in the first and second sentences of this paragraph consist of legal

conclusions to which no response is required. Moreover, to the extent the allegations in those

sentences characterize case law, specifically Bruen, 142 S. Ct. at 2111, that case speaks for itself

and is the best evidence of its content. To the extent a response to the first and second sentences

of this paragraph is deemed required, Defendants deny any allegation that is inconsistent with

Bruen or other law governing this matter. In addition, the second sentence of this paragraph is

further denied to the extent it contends ATF is abusing the process for firearm suppressor

applications or otherwise engaging in that process in an improper or unlawful manner. The third

sentence of this paragraph is denied. With respect to the fourth sentence in this paragraph,




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Defendants admit that ATF has requested pictures of parts in connection with Form-1 applications

in some circumstances, but Defendants deny that they have done so “[w]ithout any authority.” The

remainder of the fourth sentence of this paragraph is a characterization of the NFA, which statute

speaks for itself. Accordingly, no response is required. To the extent a response is deemed required,

Defendants deny any allegation that is inconsistent with the NFA. The fifth sentence of this

paragraph is denied.

       11.     The allegations in this paragraph consist of legal conclusions to which no response

is required. Moreover, to the extent this paragraph characterizes case law, specifically Bruen, 142

S. Ct. at 2111, that case speaks for itself and is the best evidence of its content. To the extent a

response is deemed required, Defendants deny any allegation that is inconsistent with Bruen or

other law governing this matter.

       12.     The first and second sentences of this paragraph consist of legal conclusions, to

which no response is required. To the extent a response is deemed required as to the first sentence,

Defendants admit that sentence and refer the Court to United States v. Cox, 906 F.3d 1170 (10th

Cir. 2018), United States v. Al-Azhari, 2020 WL 7334512, (M.D. Fla. Dec. 14, 2020), and United

States v. Hasson, 2019 WL 4573424, at *4-5 (D. Md. Sept. 20, 2019), aff’d 26 F.4th 610 (4th Cir.

2022). To the extent a response is deemed required as to the second sentence, it is denied. The

remainder of this paragraph characterizes and draws legal conclusions based on Heller, 554 U.S.

at 581, and Bruen, 142 S. Ct. at 2132, which cases speak for themselves and to which no response

is required. To the extent a response is deemed required, Defendants deny any allegation that is

inconsistent with Heller, Bruen, or other law governing this matter.

       13.     The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.




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       14.     Defendants lack knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       15.     This paragraph is a characterization of TEX. GOV’T CODE § 2.054, which speaks for

itself and is the best evidence of its content. Accordingly, no response is required. To the extent a

response is deemed required, Defendants admit that Section 2.054 states that “[o]n written

notification to the attorney general by a United States citizen who resides in this state of the

citizen’s intent to manufacture a firearm suppressor to which Section 2.052 applies, the attorney

general shall seek a declaratory judgment from a federal district court in this state that Section

2.052 is consistent with the United States Constitution.”

       16.     This allegations in this paragraph consist of Plaintiffs’ characterization of this

action, to which no response is required.

                                            I. PARTIES

       17.     Defendants admit that Plaintiff Ken Paxton is the Attorney General of Texas. The

remainder of this paragraph characterizes TEX. GOV’T CODE § 2.054, which speaks for itself and

is the best evidence of its content. Accordingly, no response is required. To the extent a response

is deemed required, Defendants admit that Tex. Gov’t Code § 2.054 states that “[o]n written

notification to the attorney general by a United States citizen who resides in this state of the

citizen’s intent to manufacture a firearm suppressor to which Section 2.052 applies, the attorney

general shall seek a declaratory judgment from a federal district court in this state that Section

2.052 is consistent with the United States Constitution.” However, to the extent this paragraph is

inconsistent with Section 2.052, denied. And to the extent this paragraph suggests Texas has

standing to bring the claims in this case, this paragraph is further denied.

       18.     Admit.




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          19.   Defendants admit that Texas is a state. The remainder of this paragraph consists of

legal conclusions to which no response is required. To the extent a response is deemed required,

denied.

          20.   Denied.

          21.   Denied.

          22.   Defendants lack knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

          23.   Defendants lack knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

          24.   Defendants lack knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

          25.   The first sentence of this paragraph is denied. Steven M. Dettelbach is currently the

Director of the Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”). The second

sentence of this paragraph is admitted. With respect to the third sentence of this paragraph,

Defendants admit that the Director has been served and has appeared in this case through counsel.

          26.   The first sentence of this paragraph is admitted. With respect to the second

sentence, Defendants admit that ATF reports to the Attorney General and that the Attorney General

has the power to initiate criminal prosecutions under some circumstances. The remainder of the

second sentence consists of speculation about hypothetical prosecutions regarding undefined

actions that Plaintiffs do not allege have actually occurred. Defendants lack sufficient knowledge

or information to respond regarding such unspecified and hypothetical scenarios. With respect to

the third sentence, Defendants admit that their counsel agreed to accept service on behalf of

Defendant Garland.




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                                 II.      JURISDICTION AND VENUE

         27.    This paragraph consists of a legal conclusion to which no response is required. To

the extent a response is deemed required, Defendants deny that the Court has subject matter

jurisdiction over this action.

         28.    This paragraph consists of a legal conclusion to which no response is required. To

the extent a response is deemed required, denied.

         29.    This paragraph consists of a legal conclusion to which no response is required. To

the extent a response is deemed required, denied.

         30.    This paragraph consists of a legal conclusion to which no response is required. To

the extent a response is deemed required, denied.

         31.    This paragraph consists of a legal conclusion regarding venue, to which no response

is required. Moreover, Defendants lack knowledge or information sufficient to form a belief as to

where the Individual Plaintiffs reside.

                                   III.    FACTUAL BACKROUND

         32.    The allegations in this paragraph characterize 18 U.S.C. § 921(a)(24), which speaks

for itself and is the best evidence of its content. Accordingly, no response is required. To the extent

a response is deemed required, Defendants deny any allegation that is inconsistent with 18 U.S.C.

§ 921.

         33.    This paragraph characterizes United States v. Syverson, 90 F.3d 227 (7th Cir. 2996),

which case speaks for itself and to which no response is required. To the extent a response is

deemed required, Defendants deny any allegation that is inconsistent with Syverson or with any

other law governing this matter.

         34.    The allegations in this paragraph are a quote from a law review article, Stephen P.




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Halbrook, Firearm Sound Moderators: Issues of Criminalization and the Second Amendment, 46

Cumb. L. Rev. 33 (2016) (“Halbrook”). To the extent this paragraph characterizes Halbrook, that

article speaks for itself and is the best evidence of its content. Defendants admit that Halbrook

contains this quote, which must be read in context. Moreover, the quoted language from Halbrook

consists of irrelevant factual assertions and opinion of the author, to which no response is required.

       35.     The first sentence of this paragraph characterizes cases law, which cases speak for

themselves and which cases are the best evidence of their content. Accordingly no response is

required. Moreover, to the extent this paragraph claims that any terminology is “common” or

“commonly known,” that descriptor is vague and undefined and thus Defendants are unable to

respond to it. To the extent a response is deemed required, Defendants deny any allegation that is

inconsistent with the cited cases or other applicable law. The second sentence of this paragraph

characterizes Halbrook, which article speaks for itself and is the best evidence of its content.

Defendants admit that Halbrook contains the quoted language, which must be read in context.

       36.     This paragraph defines terms used in Plaintiffs’ complaint, to which no response is

required.

       37.     The allegations in this paragraph characterize Halbrook and other secondary legal

resources, which sources speak for themselves and are the best evidence of their content.

Moreover, this paragraph consists of irrelevant factual assertions, to which no response is required.

To the extent a response is deemed required, Defendants lack knowledge or information sufficient

to form a belief as to the truth of the allegations in this paragraph.

       38.     Defendants admit that some parts that may be used to make firearm suppressors are

sold by merchants, and have been sold on Amazon.com. To the extent this paragraph suggests any

such parts are “common” or that merchants who sell them are “ordinary,” those descriptors are




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vague and undefined and thus Defendants are unable to respond to them. To the extent this

paragraph suggests that all available products used to make firearm suppressors are “legally

available,” this paragraph is denied.

       39.      The first sentence of this paragraph is denied. The remainder of this paragraph

quotes Exhibit 2 to Plaintiff’s Complaint, which is a copy of a white paper containing the opinion

of its author, which speaks for itself and is the best evidence of its content.

       40.     The first sentence of this paragraph is denied. The second and third sentences of

this paragraph characterize a position statement from the National Hearing Conservation

Association and an article published by the CDC, which speak for themselves and are the best

evidence of their content. With respect to the last sentence of this paragraph, Defendants admit

that suppressors may reduce noise and/or recoil, but lack knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in that sentence.

       41.     This paragraph consists of irrelevant factual assertions, to which no response is

required. Moreover, the term “common” is vague and undefined, and thus Defendant is unable to

respond regarding that descriptor. To the extent a response is deemed required, Defendants lack

knowledge or information sufficient to form a belief as to the truth of the allegations in this

paragraph.

       42.     The first sentence of this paragraph contains terms that are vague and undefined,

including “significant” and “costs to enforce the tax.” Because Defendants do not understand what

is meant by those terms, Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegations in the first sentence of this paragraph. The remainder of this paragraph

quotes Exhibit 2 to Plaintiff’s Complaint, which speaks for itself and is the best evidence of its

content.




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       43.     The allegations in this paragraph are admitted.

       44.     Defendants lack knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       45.     Defendants lack knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

       46.     Defendants lack knowledge or information sufficient to form a belief as to the truth

of the allegations in this paragraph.

                                        IV. FEDERAL LAW

       47.     The allegations in this paragraph are a quote from a law review article, Halbrook.

To the extent this paragraph characterizes Halbrook, that article speaks for itself and is the best

evidence of its content. Defendants admit that Halbrook contains this quote, which must be read

in context.

       48.     The allegations in this paragraph characterize the Gun Control Act of 1968, 18

U.S.C. § 921 et seq. (the “GCA”), which statute speaks for itself and is the best evidence of its

content. Accordingly, no response is required. To the extent a response is deemed required,

Defendants deny any allegation that is inconsistent with the GCA.

       49.     The allegations in this paragraph characterize the GCA, which statute speaks for

itself and is the best evidence of its content. Accordingly, no response is required. To the extent a

response is deemed required, Defendants deny any allegation that is inconsistent with the GCA.

       50.     The allegations in this paragraph characterize the GCA, which statute speaks for

itself and is the best evidence of its content. Accordingly, no response is required. To the extent a

response is deemed required, Defendants deny any allegation that is inconsistent with the GCA.

       51.     The allegations in this paragraph characterize statements made on ATF’s website.




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ATF’s web page speaks for itself and is the best evidence of its content. The allegations in this

paragraph also consist of legal conclusions, to which no response is required. To the extent a

response is deemed required, Defendants deny any allegation that is inconsistent with the

statements on the cited web page and/or that is inconsistent with the NFA and other applicable

law.

       52.     The allegations in this paragraph characterize the NFA, which statute speaks for

itself and is the best evidence of its content. Accordingly, no response is required. To the extent a

response is deemed required, Defendants deny any allegation that is inconsistent with the NFA.

       53.     The allegations in this paragraph consist of legal conclusions regarding the NFA

and the GCA that are quoted from a book, to which no response is required. To the extent a

response is deemed required, Defendants deny any allegation that is inconsistent with the NFA or

the GCA.

       54.     The allegations in this paragraph characterize the NFA, which statute speaks for

itself and is the best evidence of its content. Accordingly, no response is required. To the extent a

response is deemed required, Defendants deny any allegation that is inconsistent with the NFA.

       55.     The first sentence of this paragraph is denied to the extent it suggests the NFA’s

definition of “firearm” is “unusual.” The balance of this paragraph consists of legal conclusions

and characterizations of the NFA that are quoted from a book, to which no response is required.

The NFA speaks for itself and is the best evidence of its content. To the extent a response is deemed

required, Defendants deny any allegation that is inconsistent with the NFA.

       56.     The first sentence of this paragraph is denied. The balance of this paragraph consists

of legal conclusions that characterize the legislative history of the NFA, to which no response is

required. To the extent a response is deemed required, Defendants deny any allegation that the




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NFA’s legislative history does not support the statute’s regulation of firearm suppressors.

          57.   The allegations in this paragraph consist of legal conclusions and characterizations

of the NFA that are quoted from a law review article, to which no response is required. The NFA

speaks for itself and is the best evidence of its content. To the extent a response is deemed required,

Defendants deny any allegation that is inconsistent with the NFA.

          58.   The allegations in this paragraph characterize 18 U.S.C. § 921(a)(24), which

defines “silencer” to include “any device for silencing, muffling, or diminishing the report of a

portable firearm,” as well as “any combination of parts, designed or redesigned, and intended for

use in assembling or fabricating a firearm silencer or firearm muffler, and any part intended only

for use in such assembly or fabrication.” 18 U.S.C. § 921(a)(24). Section 921(a)(24) speaks for

itself and is the best evidence of its content. Accordingly, no response is required. To the extent a

response is deemed required, Defendants deny any allegation that is inconsistent with the GCA,

the NFA, or any other applicable law. Moreover, to the extent this paragraph suggests that a metal

pipe is a “firearm” under the NFA even if it is not amongst “a combination of parts, designed or

redesigned, and intended for use in assembling or fabricating a firearm silencer or firearm muffler”

or that is not a “part intended only for use in such assembly or fabrication,” this paragraph is

denied.

          59.   Defendants admit that the NFA was amended by the GCA to include taxation for

the making of suppressors for non-commercial use. The balance of this paragraph characterizes

the NFA and the GCA, which statutes speak for themselves and which are the best evidence of

their content. Accordingly, no further response is required. To the extent a response is deemed

required, Defendants deny any allegation that is inconsistent with the NFA and the GCA.

          60.   The allegations in this paragraph characterize the NFA and the GCA, which statutes




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speak for themselves and which are the best evidence of their content. Accordingly, no further

response is required. To the extent a response is deemed required, Defendants deny any allegation

that is inconsistent with the NFA and the GCA.

       61.     The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent this paragraph characterizes the NFA, the statute speaks for itself and is

the best evidence of their content. Accordingly, no further response is required. To the extent a

response is deemed required, Defendants deny any allegation that is inconsistent with the NFA.

       62.     The allegations in this paragraph characterize the NFA, which statute speaks for

itself and is the best evidence of its content. Accordingly, no response is required. To the extent a

response is deemed required, Defendants deny any allegation that is inconsistent with the NFA.

       63.     The allegations in this paragraph characterize the definitions in 26 U.S.C. §

7701(a)(11)(B) and § 7801(a)(2)(A)(i), which statutes speaks for themselves and are the best

evidence of their content. Accordingly, no response is required. To the extent a response is deemed

required, Defendants deny any allegation that is inconsistent with 26 U.S.C. § 7701(a)(11)(B) and

§ 7801(a)(2)(A)(i).

       64.     Admit.

       65.     The allegations in this first sentence of this paragraph characterize 27 C.F.R. §

479.64, which regulation speaks for itself and is the best evidence of its content. Accordingly, no

response is required. To the extent a response is deemed required, Defendants deny any allegation

that is inconsistent with the NFA and its implementing regulations, or any other applicable law.

With respect to the second sentence of this paragraph, Defendants admit that Exhibit 3 appears to

be a copy of Form 1.

       66.     The allegations in this paragraph characterize 27 C.F.R. § 479.62(b)(1), which




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regulation speaks for itself and is the best evidence of its content. Accordingly, no response is

required. To the extent a response is deemed required, Defendants deny any allegation that is

inconsistent with the NFA and its implementing regulations, or any other applicable law.

       67.    The allegations in this paragraph characterize 27 C.F.R. § 479.62(b)(2), which

regulation speaks for itself and is the best evidence of its content. Accordingly, no response is

required. To the extent a response is deemed required, Defendants deny any allegation that is

inconsistent with the NFA and its implementing regulations, or any other applicable law.

       68.    The allegations in this paragraph characterize 27 C.F.R. § 479.63(a), which

regulation speaks for itself and is the best evidence of its content. Accordingly, no response is

required. To the extent a response is deemed required, Defendants deny any allegation that is

inconsistent with the NFA and its implementing regulations, or any other applicable law.

       69.    The allegations in this paragraph characterize 27 C.F.R. § 479.62(b)(3), which

regulation speaks for itself and is the best evidence of its content. Accordingly, no response is

required. To the extent a response is deemed required, Defendants deny any allegation that is

inconsistent with the NFA and its implementing regulations, or any other applicable law.

       70.    The allegations in this paragraph characterize 27 C.F.R. § 479.62(b)(4), (5), which

regulation speaks for itself and is the best evidence of its content. Accordingly, no response is

required. To the extent a response is deemed required, Defendants deny any allegation that is

inconsistent with the NFA and its implementing regulations, or any other applicable law.

       71.    The allegations in this paragraph characterize 27 C.F.R. § 479.62(b)(6), which

regulation speaks for itself and is the best evidence of its content. Accordingly, no response is

required. To the extent a response is deemed required, Defendants deny any allegation that is

inconsistent with the NFA and its implementing regulations, or any other applicable law.




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       72.     The allegations in this paragraph characterize 27 C.F.R. § 479.62(c), which

regulation speaks for itself and is the best evidence of its content. Accordingly, no response is

required. To the extent a response is deemed required, Defendants deny any allegation that is

inconsistent with the NFA and related regulations, or any other applicable law. Moreover, to the

extent Plaintiff suggests Section 479.62(c) is not consistent with or authorized by statute or rule,

this paragraph is denied.

       73.     This paragraph is denied. Defendants refer the Court to Instruction 2f on ATF Form

1, which states: “the Social security number and UPIN are not required.” Moreover, to the extent

this paragraph suggests that any aspect of the Form 1 is not consistent with or authorized by statute

or rule, denied.

       74.     Defendants admit that ATF Form 1 includes a line item for race or ethnicity. To the

extent this paragraph suggests that any aspect of the Form 1 is not consistent with or authorized

by statute or rule, denied.

       75.     The allegations in this paragraph characterize 27 C.F.R. § 479.62(d), which

regulation speaks for itself and is the best evidence of its content. Accordingly, no response is

required. To the extent a response is deemed required, Defendants deny any allegation that is

inconsistent with the NFA and its implementing regulations, or any other applicable law.

       76.     The allegations in this paragraph characterize 27 C.F.R. § 479.64, which regulation

speaks for itself and is the best evidence of its content. Accordingly, no response is required. To

the extent a response is deemed required, Defendants deny any allegation that is inconsistent with

the NFA and its implementing regulations, or any other applicable law.

       77.     The allegations in this paragraph characterize 27 C.F.R. § 479.64 and § 479.65,

which regulations speaks for themselves and are the best evidence of their content. Accordingly,




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no response is required. To the extent a response is deemed required, Defendants deny any

allegation that is inconsistent with the NFA and its implementing regulations, or any other

applicable law.

       78.     To the extent this paragraph suggests all Form 1 applications are approved or denied

in two to four weeks, this paragraph is denied. The time it takes to approve or deny any Form 1

application varies depending on the circumstances.

       79.     Admit.

       80.     Defendants admit that ATF denied approximately 845 Form 1 applications to make

firearms suppressors on February 28, 2022.

       81.     Defendants admit that ATF sent a letter to approximately 1,901 email addresses

associated with pending Form 1 applications on March 3, 2022, which contained the language

quoted in this paragraph except that the first sentence of the second paragraph of the letter reads

“NFA Division requests that you provide certain additional information . . . .” not “NFA Division

requires that you provide certain additional information . . . .”

       82.     This allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, Defendants deny that ATF’s request for

additional information from Form 1 applicants is not authorized by and/or is inconsistent with the

NFA and its implementing regulations.

       83.     The allegations in the first part of this paragraph characterize the NFA, which

statute speaks for itself and is the best evidence of its content. Accordingly, no response to those

allegations is required. To the extent a response is deemed required, Defendants deny any

allegation that is inconsistent with the NFA, or any other applicable law. With respect to the second

part of this paragraph, Defendants lack knowledge or information sufficient to form a belief as to




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the truth of the allegations regarding what Plaintiffs’ concerns may be and the nature of any such

purported concerns.

       84.     Defendants deny that ATF extends the application process or seeks any information

other than as necessary and appropriate to consider any particular Form 1 application in accordance

with the applicable statutory and regulatory framework.

       85.     The allegations in this paragraph characterize 26 U.S.C § 4181, § 4182, and the

NFA, which statutes speak for themselves and are the best evidence of their content. Accordingly,

no response is required. To the extent a response is deemed required, Defendants deny any

allegation that is inconsistent with § 4181, § 4182, and/or the NFA.

       86.     Defendants admit the allegations in the first sentence of this paragraph. The

remainder of this paragraph characterizes the NFA and its implementing regulations, which statute

and regulations speak for themselves and are the best evidence of their content. Accordingly, no

response is required. To the extent a response is deemed required, Defendants deny any allegation

that is inconsistent with the NFA and its implementing regulations.

       87.     The allegations in this paragraph consist of a quote from a law review article,

Halbrook. To the extent this paragraph characterizes Halbrook, that article speaks for itself and is

the best evidence of its content. Defendants admit that Halbrook contains this quote, which must

be read in context. However, Defendants otherwise lack knowledge or information sufficient to

form a belief as to the truth of the allegations in this paragraph.

       88.     The allegations in this paragraph characterize information set forth in Halbrook,

which suggests that “the average price of a suppressor” before the enactment of the NFA was

approximately $5. Defendants admit that Halbrook contains that suggestion, which must be read

in context. However, Defendants otherwise lack knowledge or information sufficient to form a




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belief as to the truth of the allegations in this paragraph.

        89.     Admit.

        90.     The allegations in this paragraph characterize 26 U.S.C § 4182 and the NFA, which

statutes speak for themselves and are the best evidence of their content. Accordingly, no response

is required. To the extent a response is deemed required, Defendants deny any allegation that is

inconsistent with § 4182 and/or the NFA.

        91.     Defendants admit that each maker of a firearm suppressor is required to “register

each firearm [suppressor] he [] makes, 26 U.S.C. § 5841(b), and that approval of an application to

make and register a firearm suppressor, which is submitted alongside the $200 tax, “shall

effectuate registration of the firearm to the applicant,” 27 C.F.R. § 479.62.

        92.     Defendants admit the allegations in the first sentence of this paragraph. The

remaining allegations in this paragraph characterize the NFA, which statute speaks for itself and

is the best evidence of its content. Accordingly, no response is required. To the extent a response

is deemed required, Defendants deny any allegation that is inconsistent with the NFA.

        93.     The allegations in this paragraph characterize the NFA, which statute speaks for

itself and is the best evidence of its content. Accordingly, no response is required. To the extent a

response is deemed required, Defendants deny any allegation that is inconsistent with the NFA.

        94.     The allegations in this paragraph characterize the NFA and its implementing

regulations, which statute and regulations speak for themselves and are the best evidence of their

content. Accordingly, no response is required. To the extent a response is deemed required,

Defendants deny any allegation that is inconsistent with the NFA and its implementing regulations.

        95.     The allegations in this paragraph characterize the NFA and its implementing

regulations, which statute and regulations speak for themselves and are the best evidence of their




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content. Accordingly, no response is required. To the extent a response is deemed required,

Defendants deny any allegation that is inconsistent with the NFA and its implementing regulations.

       96.     Defendants admit that firearms suppressors made pursuant to the NFA’s

requirements must be marked with a serial number.

       97.     The allegations in this paragraph characterize the NFA, which statute speaks for

itself and is the best evidence of its content. Accordingly, no response is required. To the extent a

response is deemed required, Defendants deny any allegation that is inconsistent with the NFA.

       98.     The allegations in this paragraph characterize 27 C.F.R. § 479.102(a), which

regulation speaks for itself and is the best evidence of its content. Accordingly, no response is

required. To the extent a response is deemed required, Defendants deny any allegation that is

inconsistent with § 479.102(a).

       99.     The allegations in this paragraph characterize 27 C.F.R. § 479.102(b), which

regulation speaks for itself and is the best evidence of its content. Accordingly, no response is

required. To the extent a response is deemed required, Defendants deny any allegation that is

inconsistent with § 479.102(b).

       100.    The allegations in this paragraph characterize the NFA, which statute speaks for

itself and is the best evidence of its content. Accordingly, no response is required. To the extent a

response is deemed required, Defendants deny any allegation that is inconsistent with the NFA.

       101.    The allegations in this paragraph characterize the NFA, which statute speaks for

itself and is the best evidence of its content. Accordingly, no response is required. To the extent a

response is deemed required, Defendants deny any allegation that is inconsistent with the NFA.

       102.    The allegations in this paragraph characterize the NFA, which statute speaks for

itself and is the best evidence of its content. Accordingly, no response is required. To the extent a




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response is deemed required, Defendants deny any allegation that is inconsistent with the NFA.

                                          V. TEXAS LAW

       103.    The allegations in this paragraph characterize TEX. GOV’T CODE § 2.001(2), which

statute speaks for itself and is the best evidence of its content. Accordingly, no response is required.

To the extent a response is deemed required, Defendants deny any allegation that is inconsistent

with TEX. GOV’T CODE § 2.001(2).

       104.    The allegations in this paragraph characterize TEX. GOV’T CODE § 2.001(4), which

statute speaks for itself and is the best evidence of its content. Accordingly, no response is required.

To the extent a response is deemed required, Defendants deny any allegation that is inconsistent

with TEX. GOV’T CODE § 2.001(4).

       105.    The first two sentences of this paragraph characterize the NFA, which statute

speaks for itself and is the best evidence of its content. The third sentence of this paragraph

characterizes the Texas Government Code, which code speaks for itself and is the best evidence

of its content. Accordingly, no response is required. To the extent a response is deemed required,

Defendants deny any allegation that is inconsistent with the NFA or the Texas Government Code.

       106.    The allegations in this paragraph characterize TEX. GOV’T CODE § 2.051, which

statute speaks for itself and is the best evidence of its content. Accordingly, no response is required.

To the extent a response is deemed required, Defendants deny any allegation that is inconsistent

with TEX. GOV’T CODE § 2.001(4).

       107.    The allegations in this paragraph characterize TEX. GOV’T CODE § 2.001(3), which

statute speaks for itself and is the best evidence of its content. Accordingly, no response is required.

To the extent a response is deemed required, Defendants deny any allegation that is inconsistent

with TEX. GOV’T CODE § 2.001(3).




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       108.    The allegations in this paragraph characterize TEX. GOV’T CODE § 2.052, which

statute speaks for itself and is the best evidence of its content. Accordingly, no response is required.

To the extent a response is deemed required, Defendants deny any allegation that is inconsistent

with TEX. GOV’T CODE § 2.052. Moreover, to the extent this paragraph suggests TEX. GOV’T CODE

§ 2.052 nullifies or supersedes federal laws that regulate firearms suppressors made in Texas, this

paragraph is denied.

       109.    The allegations in this paragraph characterize TEX. GOV’T CODE § 2.052, which

statute speaks for itself and is the best evidence of its content. Accordingly, no response is required.

To the extent a response is deemed required, Defendants deny any allegation that is inconsistent

with TEX. GOV’T CODE § 2.052. Moreover, to the extent this paragraph suggests TEX. GOV’T CODE

§ 2.052 nullifies or supersedes federal laws that regulate firearms suppressors made in Texas, this

paragraph is denied.

       110.    The allegations in this paragraph characterize TEX. GOV’T CODE § 2.053, which

statute speaks for itself and is the best evidence of its content. Accordingly, no response is required.

To the extent a response is deemed required, Defendants deny any allegation that is inconsistent

with TEX. GOV’T CODE § 2.053.

       111.    The allegations in this paragraph characterize TEX. GOV’T CODE § 2.054, which

statute speaks for itself and is the best evidence of its content. Accordingly, no response is required.

To the extent a response is deemed required, Defendants deny any allegation that is inconsistent

with TEX. GOV’T CODE § 2.054. Moreover, to the extent this paragraph suggests TEX. GOV’T CODE

§ 2.054 is consistent with the United States Constitution, this paragraph is denied.

       112.    Defendants admit that Exhibit 4 appears to be a copy of a letter that ATF sent on

July 28, 2021. The balance of this paragraph characterizes and quotes from Exhibit 4. Exhibit 4




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speaks for itself and is the best evidence of its content. Accordingly, no response is required. To

the extent a response is deemed required, Defendants deny any allegation that is inconsistent with

the content of Exhibit 4.

               VI.     REVIEW OF LAWS THAT REGULATE THE RIGHT TO KEEP
                       AND BEAR ARMS FOR SELF-DEFENSE

       113.    The allegations in this paragraph consist of legal conclusions to which no response

is required. Moreover, to the extent this paragraph characterizes case law, specifically Murdock v.

Com. of Pennsylvania, 319 U.S. 105, 113 (1943) and District of Columbia v. Heller, 554 U.S. 570

(2008), those cases speak for themselves and are the best evidence of their content. To the extent

a response is deemed required, this paragraph is denied.

       114.    The allegations in this paragraph consist of legal conclusions to which no response

is required. Moreover, to the extent this paragraph characterizes case law, specifically Bruen, 142

S. Ct. at 2127, Bruen speaks for itself and is the best evidence of its content. Accordingly, no

response is required. To the extent a response is deemed required, Defendants deny any allegation

that is inconsistent with Bruen or with other law governing this matter.

       115.    The allegations in this paragraph characterize case law, Bruen, 142 S. Ct. at 2132.

Bruen speaks for itself and is the best evidence of its content. Accordingly, no response is required.

To the extent a response is deemed required, Defendants deny any allegation that is inconsistent

with Bruen or with other law governing this matter.

       116.    The allegations in this paragraph consist of legal conclusions to which no response

is required. Moreover, to the extent this paragraph characterizes case law, specifically Bruen, 142

S. Ct.at 2111, Bruen speaks for itself and is the best evidence of its content. Accordingly, no further

response is required. To the extent a response is deemed required, Defendants deny any allegation

that is inconsistent with Bruen or with other law governing this matter.



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       117.    The allegations in this paragraph characterize case law, specifically Bruen, 142 S.

Ct. 2133. Bruen speaks for itself and is the best evidence of its content. Accordingly, no response

is required. To the extent a response is deemed required, Defendants deny any allegation that is

inconsistent with Bruen or with other law governing this matter.

       118.    The allegations in this paragraph consist of legal conclusions to which no response

is required. Moreover, to the extent the allegations in those sentences characterize case law,

specifically Bruen, 142 S. Ct. 2135, Bruen speaks for itself and is the best evidence of its content.

Accordingly, no response is required. To the extent a response is deemed required, Defendants

deny any allegation that is inconsistent with Bruen, or with or other law governing this matter.

       119.    The first, second, and third sentences of this paragraph consist of legal conclusions

to which no response is required. Moreover, the first sentence of this paragraph characterizes case

law, specifically Bruen, 142 S. Ct. at 2130, which case speaks for itself and is the best evidence of

its content. To the extent a response is deemed required, Defendants deny any allegation in the

first sentence that is inconsistent with Bruen or with other law governing this matter, and the

second and third sentences of this paragraph are denied. With respect to the fourth sentence of this

paragraph, Defendants admit that the NFA was enacted into law in 1934 and amended in 1968.

The NFA as amended speaks for itself and is the best evidence of its content. Accordingly, no

further response is required. To the extent further response is deemed required, Defendants deny

any allegation that is inconsistent with the NFA.

       120.    The allegations in this paragraph consist of legal conclusions to which no response

is required. Moreover, to the extent the allegations in this paragraph characterize case law,

specifically Bruen, 142 S. Ct. at 2150, Bruen speaks for itself and is the best evidence of its content.

Accordingly, no response is required. To the extent a response is deemed required, Defendants




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deny any allegation that is inconsistent with Bruen, or with or other law governing this matter.

       121.    The allegations in this paragraph consist of legal conclusions to which no response

is required. Moreover, to the extent the allegations in this paragraph characterize case law,

specifically Bruen, 142 S. Ct. at 2111 and Minneapolis Star & Tribune, Co. v. Minnesota Com’r

of Revenue, 460 U.S. 575 (1983), those cases speak for themselves and are the best evidence of

their content. Accordingly, no response is required. To the extent a response is deemed required,

Defendants deny any allegation that is inconsistent with Bruen, Minneapolis Star & Tribune Co.,

or with or other law governing this matter.

       122.    The first and second sentences of this paragraph consist of of legal conclusions and

characterizations of Bruen, 142 S. Ct. at 2138, to which no response is required. Bruen speaks for

itself and is the best evidence of its content. To the extent a response is deemed required,

Defendants deny any allegation that is inconsistent with Bruen, or with or other law governing this

matter. The third sentence of this paragraph is denied.

       123.    Defendants admit that possessing firearm suppressors is legal in some states, under

circumstances in which the possessor of a firearm suppressor satisfies the applicable federal and

state laws associated therewith. With respect to the remaining allegations in this paragraph, denied.

       124.    To the extent this paragraph assumes the date of suppressors’ invention, Defendants

lack knowledge or information sufficient to form a belief as to the truth of the allegations in this

paragraph. The remainder of this paragraph is denied.

       125.    The allegations in this paragraph contain descriptors that are vague and undefined,

including “widely accepted,” and “commonly.” Because Defendants do not understand what is

meant by those terms, Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph. To the extent this paragraph alleges that firearm




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suppressors are very infrequently used in criminal activity, denied. With respect to the last

sentence, Defendants admit only that firearm suppressors are used by law enforcement, the

military, and citizens in some circumstances.

                                          VII. CLAIMS

                                            COUNT I

       126.    Defendants restate and incorporate by reference the responses contained in all

preceding paragraphs.

       127.    The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.

       128.    The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.

       129.    The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.

       130.    The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.

       131.    The first sentence of this paragraph characterizes 18 U.S.C. § 921(a)(24), which

defines “silencer” to include “any device for silencing, muffling, or diminishing the report of a

portable firearm,” as well as “any combination of parts, designed or redesigned, and intended for

use in assembling or fabricating a firearm silencer or firearm muffler, and any part intended only

for use in such assembly or fabrication.” 18 U.S.C. § 921(a)(24). Section 921(a)(24) speaks for

itself and is the best evidence of its content. Accordingly, no response is required. To the extent a

response is deemed required, Defendants deny any allegation that is inconsistent with the GCA,

the NFA, or any other applicable law. With respect to the second sentence of this paragraph,




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Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations in that sentence. The third sentence of this paragraph consists of legal conclusions to

which no response is required. To the extent a response is deemed required, Defendants deny that

“the federal government impos[es] a Catch 22 on Texans,” and further deny that any purported

actions by the federal government as alleged in the Plaintiffs’ Second Amended Complaint violate

Texans’ constitutional rights.

       132.    The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.

       133.    The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.

                                            COUNT II

       134.    Defendants restate and incorporate by reference the responses contained in all

preceding paragraphs.

       135.    The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.

       136.    The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.

       137.    The allegations in this paragraph consist of legal conclusions to which no response

is required. Moreover, the allegations in this paragraph are based on the incorrect premise that the

NFA’s tax is “a direct federal tax[] on the exercise of a constitutional right,” which is denied.

       138.    The allegations in this paragraph consist of legal conclusions to which no response

is required. Moreover, Defendants do not understand the allegations in this paragraph as written

and therefore lack knowledge or information sufficient to form a belief as to the truth of the




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allegations in this paragraph.

       139.    The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.

       140.    The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.

       141.    The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.

       142.    With respect to the first sentence of this paragraph, Defendants admit that the $200

is a tax. The second sentence of this paragraph consists of irrelevant factual assertions about a

hypothetical scenario, to which no response is required. To the extent a response is deemed

required, the second sentence of this paragraph is denied.

       143.    The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.

                                           COUNT III

       144.    Defendants restate and incorporate by reference the responses contained in all

preceding paragraphs.

       145.    The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.

       146.    The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.

       147.    The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.

       148.    The allegations in this paragraph consist of legal conclusions to which no response




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is required. To the extent a response is deemed required, denied.

       149.    The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.

       150.    The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.

                                           COUNT IV

       151.    Defendants restate and incorporate by reference the responses contained in all

preceding paragraphs.

       152.    The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.

       153.    The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.

       154.    The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.

       155.    The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.

       156.    The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.

       157.    The allegations in this paragraph consist of legal conclusions to which no response

is required. To the extent a response is deemed required, denied.

                                VIII. PRAYER FOR RELIEF

       Defendants deny that Plaintiffs are entitled to the relief requested in their Prayer for

Relief, or to any relief whatsoever.




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                                         *       *      *

       Defendants hereby specifically deny each and every allegation in the Complaint not

expressly admitted or denied in their Answer, or to which it has responded that it has insufficient

information to admit or deny.


DATED: October 24, 2022                      Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Principal Deputy Assistant Attorney General
                                             Civil Division

                                             LESLEY FARBY
                                             Assistant Branch Director

                                             /s/ Emily B. Nestler
                                             EMILY B. NESTLER (NY Bar # 4398095)
                                             Trial Attorney
                                             United States Department of Justice
                                             Civil Division, Federal Programs Branch
                                             1100 L Street, NW
                                             Washington, D.C. 20005
                                             Tel: (202) 616-0167
                                             Email: emily.b.nestler@usdoj.gov

                                             Counsel for Defendants




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                                 CERTIFICATE OF SERVICE

       On October 24, 2022, I electronically submitted the foregoing with the clerk of court for

the U.S. District Court, Northern District of Texas, using the electronic case filing system of the

court. I hereby certify that I have served all parties electronically or by another manner authorized

by Federal Rule of Civil Procedure 5(b)(2).



                                              /s/ Emily B. Nestler
                                              EMILY B. NESTLER




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